Case 3:10-cv-01138-PGS-LHG Document 227 Filed 10/08/18 Page 1 of 3 PageID: 10913




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
 SAM HARGROVE, ANDRE HALL, and :
 MARCO EUSEBIO, individually and on :
                                               Civil Action No. 3:10-01138-PGS-
 behalf of all others similarly situated, :
                                               LHG
                                          :
               Plaintiffs,                :
                                          :
       v.
                                          :
                                          :    FILED VIA ECF
 SLEEPY’S LLC,
                                          :
               Defendant.                 :
                                          :
 SLEEPY’S, LLC,                           :
                                          :
               Third-Party Claims         :
               Plaintiff,                 :
                                          :
      v.                                  :
                                          :
 I-STEALTH, LLC, EUSEBIO’S                :
 TRUCKING CORP and CURVA                  :
 TRUCKING, LLC,                           :
                                          :
               Third-Party Claims
               Defendant.

                       SUGGESTION OF BANKRUPTCY

  TO THE CLERK OF SAID COURT:

        PLEASE TAKE NOTICE that on October 5, 2018, a voluntary petition

  was filed in the United States Bankruptcy Court for the District of Delaware (the

  “Bankruptcy Court”) by Sleepy’s, LLC (Case No. 18-12275-CSS) and Mattress

  Firm, Inc. (Case No. 18-12241-CSS).
Case 3:10-cv-01138-PGS-LHG Document 227 Filed 10/08/18 Page 2 of 3 PageID: 10914




        PLEASE TAKE FURTHER NOTICE that pursuant to 11 U.S.C. § 362,

  upon the filing of a Chapter 11 petition, an injunction is placed into effect which

  stays, among other things, the commencement or continuation of a judicial,

  administrative or other action or proceeding against the Debtor that was or could

  have been commenced before the filing of the petition, or to recover a claim

  against the Debtor that arose before the commencement of the Chapter 11 petition,

  any act to obtain possession of or exercise control over property of the estate,

  and/or any act to collect, assess, or recover a claim against the Debtor that arose

  before the filing of the Chapter 11 petition.


                                          /s/ Jonathan L. Shaw
                                          Theo E.M. Gould (NJ Bar No. 033982003)
                                          Matthew J. Hank (Admitted Pro Hac Vice)
                                          Paul C. Lantis (NJ Bar No. 017902010)
                                          Marc D. Esterow (NJ Bar No. 21012016)
                                          Jonathan L. Shaw (NJ Bar No. 085692014)
                                          LITTLER MENDLESON, P.C.
                                          Three Parkway
                                          1601 Cherry Street, Suite 1400
                                          Philadelphia, PA 19102.1321
                                          267.402.3000
                                          267.402.3131

  Dated: October 8, 2018                  Attorneys for Sleepy’s, LLC
Case 3:10-cv-01138-PGS-LHG Document 227 Filed 10/08/18 Page 3 of 3 PageID: 10915




                            CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of October, 2018, the foregoing

  Suggestion of Bankruptcy was filed using the District of New Jersey’s ECF

  system, through which this document is available for viewing and downloading,

  causing a notice of electronic filing to be served upon all counsel of record.

                                                /s/ Jonathan L. Shaw
                                                Jonathan L. Shaw
